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 Attorney or Party without Attorney:                                                                                      For Court Use Only
  Jae K. Kim, Esq., Bar #236805
  Lynch Carpenter LLP
  117 East Colorado Blvd. Suite 600
  Pasadena, CA 91105
 Telephone No: 626-550-1250
                                                                             Ref No. or File No.:
                                                                         I
 Attorney/or:    Plaintiff(s)
 Insert name of Court, and Judicial District and Branch Court:
  United States District Court - Northern DistrictOfCalifornia
 Plaintifl(s):
            Jane Doe, et al
 Defendant: Hey Favor, Inc., et al
        PROOF OF SERVICE                            Hearing Date:                   'Time           'Dept/Div:   Case Number:
       Summons and Complaint                                                                                      23CV00059LB
1. At the time of service I was at least 18 years of age and not a party to this action.

2. I served copies ofthe Summons In A Civil Action; Class Action Complaint; Civil Cover Sheet; Order Setting Initial Case Management
   Conference And Adr Deadlines; Consenting To The JurisdictionOf A Magistrate Judge Booklet; EcfRegistration Information;
   Procedures For Telephone Appearances For Magistrate Judge Laurel Beeler; StandingOrder For Judge Laurel Beeler; NoticeOf
   AssignmentOfCase To A United States Magistrate Judge For Trial; StandingOrder For All JudgesOf The Northern DistrctOf
   California; NoticeOf Electronic Filing - Case Assignment

3. a. Party served:                                              Hey Favor, Inc.
   b. Person served:                                             Koy Saechao, Service of Process Intake Clerk, Asian, Female, Age 45, Black Hair,
                                                                 Brown Eyes, 5'5, l 501bs.

4. Address where the party was served:                           Corporation Service Company
                                                                 2710 Gateway Oaks Dr.# 150N
                                                                 Sacramento, CA 95833
5. I served the party:
   a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party ( l) on: Mon., Jan. 09, 2023 (2) at: 2:35PM
7. Person Who Served Papers:                                                              Recoverable Cost Per CCP I 033.S(a)(4)(B)
    a. Robert J. Mason                                                 d. The Fee for Service was:
    b. Class Action Research & Litigation                              e. I am: (3) registered California process server
       PO Box 740                                                                  (i) Independent Contractor
       Penryn, CA 95663                                                            (ii) Registration No.:        03-007
    c. (916) 663-2562, FAX (916) 663-4955                                          (iii) County:                 Placer




8. J declare under penalty of perjury under the laws of the State of California that the foregoing is tru    d    t.
                                                                                                          ?'J ;;r;
   Date: Mon, Jan. 09, 2023
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         Judicial Council Form                                       PROOF OF SERVICE ---------,,R
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Rule 2.150.(a)&(b) Rev January 1, 2007                              Summons and Complaint
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